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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804


                ORDER VACATING CONDITIONAL TRANSFER ORDER


       Before the Panel:* The United States of America moves under Panel Rule 7.1 to vacate our
order conditionally transferring a District of Massachusetts qui tam action listed on the attached
Schedule A to the Northern District of Ohio for inclusion in MDL No. 2804. Defendants Purdue
Pharma L.P., Purdue Pharma, Inc., and The Purdue Frederick Company support the motion. No
party opposes the motion to vacate.

         After considering the argument of counsel, we grant the motion to vacate. Without doubt,
the action shares factual questions with the other MDL cases. Relator alleges that Purdue and the
defendant distributors caused the submission of false claims to government healthcare programs (i.e.,
Medicare, Medicaid) by knowingly failing to report providers who were engaged in diversion, and
because Purdue should have introduced an abuse-deterrent formulation earlier but failed to do so
until it was approved by the Food and Drug Administration in 2010. But no qui tam cases are
pending in the MDL. The United States is moving to dismiss the action based on the False Claims
Act’s prior disclosure bar and relator’s asserted lack of standing to pursue his claims. Resolution
of this motion could obviate the need for transfer. If any claims survive and the action proceeds to
discovery, then the parties agree that they will re-notice the action, and the Panel can reinitiate the
conditional transfer process. Vacating the conditional transfer of this action in these circumstances
will assist the transferee court in maintaining its focus on the principal tasks before it, which at
present includes significant bellwether litigation, while ensuring the orderly progress of this qui tam
action.




   *
     Judges Ellen Segal Huvelle and Nathaniel Gorton did not participate in the decision of this
matter.
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     IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
“CTO-50” is vacated with respect to this action.


                                  PANEL ON MULTIDISTRICT LITIGATION




                                                 Sarah S. Vance
                                                      Chair

                                 Lewis A. Kaplan            R. David Proctor
                                 Catherine D. Perry         Karen K. Caldwell
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                    MDL No. 2804


                                     SCHEDULE A


          District of Masachusetts

     UNITED STATES OF AMERICA, ET AL. v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 1:16!10947
